Case MDL No. 3089 Document 1-4 Filed 09/18/23 Page 1 of 26




EXHIBIT A
            Case MDL No. 3089 Document 1-4 Filed 09/18/23 Page 2 of 26




                         Query   Reports   Utilities       Help    Log Out


                            U.S. District Court
                   Northern District of Florida (Pensacola)
            CIVIL DOCKET FOR CASE #: 3:23-cv-24250-TKW-ZCB


AUDELO v. JOHNSON & JOHNSON CONSUMER                   Date Filed: 09/13/2023
INC et al                                              Jury Demand: Plaintiff
Assigned to: JUDGE T KENT WETHERELL II                 Nature of Suit: 195 Contract Product
Referred to: MAGISTRATE JUDGE ZACHARY C                Liability
BOLITHO                                                Jurisdiction: Diversity
Cause: 28:1332 Diversity-Product Liability
Plaintiff
STEVE AUDELO                         represented by BRYAN FREDERICK
ON BEHALF OF THEMSELVES                             AYLSTOCK
AND ALL OTHER SIMILARLY                             AYLSTOCK WITKIN KREIS &
SITUATED                                            OVERHOLTZ - PENSACOLA FL
                                                    17 E MAIN STREET
                                                    SUITE 200
                                                    PENSACOLA, FL 32502
                                                    850-916-7450
                                                    Fax: 850-916-7449
                                                    Email: baylstock@awkolaw.com
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                       R JASON RICHARDS
                                                       AYLSTOCK WITKIN KREIS &
                                                       OVERHOLTZ - PENSACOLA FL
                                                       17 E MAIN STREET
                                                       SUITE 200
                                                       PENSACOLA, FL 32502
                                                       850-202-1010
                                                       Email: jrichards@awkolaw.com
                                                       ATTORNEY TO BE NOTICED


V.
Defendant
JOHNSON & JOHNSON
CONSUMER INC
         Case MDL No. 3089 Document 1-4 Filed 09/18/23 Page 3 of 26




Defendant
PROCTER & GAMBLE


Date Filed    # Docket Text
09/13/2023   1 COMPLAINT against JOHNSON & JOHNSON CONSUMER INC.,
               PROCTER & GAMBLE ( Filing fee $ 402 receipt number AFLNDC-
               8165726.), filed by STEVE AUDELO. (Attachments: # 1 Exhibit A, # 2
               Civil Cover Sheet, # 3 Summons- JOHNSON & JOHNSON
               CONSUMER INC., # 4 Summons-PROCTER & GAMBLE)
               (RICHARDS, R) (Entered: 09/13/2023)
09/14/2023   2 Summons Issued as to JOHNSON & JOHNSON CONSUMER INC,
               PROCTER & GAMBLE. (jcw) (Entered: 09/14/2023)



                                  PACER Service Center
                                      Transaction Receipt
                                       09/18/2023 17:24:16
              PACER
                             jordansteele   Client Code:     decon
              Login:
                             Docket         Search           3:23-cv-24250-TKW-
              Description:
                             Report         Criteria:        ZCB
              Billable Pages: 1             Cost:            0.10
      CaseCase
           3:23-cv-24250-TKW-ZCB
               MDL No. 3089 Document
                                 Document
                                     1-4 Filed
                                          1 Filed
                                               09/18/23
                                                   09/13/23
                                                         PagePage
                                                              4 of 26
                                                                   1 of 23




                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF FLORIDA
                               PENSACOLA DIVISION




                                                       3:23-cv-24250
STEVE AUDELO, on behalf                      Case No. ______________
of themselves and all other
similarly situated,

             Plaintiff,

vs.

JOHNSON & JOHNSON
CONSUMER INC. and PROCTER
& GAMBLE;

             Defendants.




                          CLASS ACTION COMPLAINT
      Steve Audelo (“Plaintiff”), on behalf of himself and all others similarly

situated, file this Class Action Complaint (“CAC”) against Defendants Johnson &

Johnson Consumer Inc. (“J&J” or “Defendant”) and Procter & Gamble (“P&G” or

“Defendant”), and in support states the following:

                           NATIURE OF THE ACTION

      1.    This is a class action lawsuit brought under Florida’s consumer

protection laws by Plaintiff, and others similarly situated, who purchased the


                                         1
     CaseCase
          3:23-cv-24250-TKW-ZCB
              MDL No. 3089 Document
                                Document
                                    1-4 Filed
                                         1 Filed
                                              09/18/23
                                                  09/13/23
                                                        PagePage
                                                             5 of 26
                                                                  2 of 23




following    over-the-counter     (“OTC”)      decongestant        products   containing

phenylephrine: (1) Sudafed PE, (2) Vicks NyQuil, and (3) Benadryl Allergy Plus

Congestion (collectively the “Products”). These Products are manufactured, sold and

distributed by Defendants and have been found by the U.S. Food and Drug

Administration (“FDA”) to lack efficacy. The Products’ lack of efficacy in was not

disclosed to Plaintiff prior to Plaintiff’s purchase of the Products and Plaintiff would

not have purchased the Products had he known they did not work as advertised.

Plaintiff and the putative class suffered economic damages due to Defendants’

misconduct (as set forth below) and they seek injunctive relief and restitution for the

full purchase price of the Products they purchased. Plaintiff alleges the following

based upon personal knowledge as well as investigation by counsel, and as to all

other matters, upon information and belief. Plaintiff further believes that substantial

evidentiary support will exist for the allegations set forth herein after a reasonable

opportunity for discovery.

                          JURISDICTION AND VENUE

      2.     This Court has original jurisdiction pursuant to 28 U.S.C. §1332(d)(2).

The matter in controversy, exclusive of interest and costs, exceeds the sum or value

of $5,000,000 and is a class action in which there are in excess of 100 class members

and Plaintiff is a citizen of a state different from Defendants.

      3.     This Court has jurisdiction over each Defendant because both


                                           2
     CaseCase
          3:23-cv-24250-TKW-ZCB
              MDL No. 3089 Document
                                Document
                                    1-4 Filed
                                         1 Filed
                                              09/18/23
                                                  09/13/23
                                                        PagePage
                                                             6 of 26
                                                                  3 of 23




Defendants are authorized to conduct and do business in Florida. Defendants have

marketed, promoted, distributed, and sold the Products in Florida and Defendants

have sufficient minimum contacts with this State and/or sufficiently avail themselves

of the markets in this State through promotion, sales, distribution and marketing

within this State to render the exercise of jurisdiction by this Court permissible.

       4.    Venue is proper in this Court pursuant to 28 U.S.C. §1391(a) and (b)

because a substantial part of the events or omissions giving rise to Plaintiff’s claims

occurred while he resided in this judicial district. Venue is also proper under 18

U.S.C. §1965(a) because Defendants transact substantial business in this District.

                                  THE PARTIES

      5.     Plaintiff Steve Audelo is a citizen and resident of Escambia County,

and at all times relevant hereto, has been a resident of Escambia County. Within the

class period define defined below, Plaintiff purchased Sudafed PE, Vicks NyQuil,

and Benadryl Allergy Plus Congestion in Escambia County. During that time, based

on the false and misleading claims by Defendants, Plaintiff was unaware that

Defendants’ Products were not an effective remedy for congestion and/or cold

symptoms. Plaintiff purchased the Defendants’ Products on the assumption that the

labeling of the Products was accurate and that the Products worked as advertised.

Plaintiff would not have purchased Defendants’ Products had he known they were

not effective and lacked efficacy. As a result, Plaintiff suffered injury in fact when


                                           3
     CaseCase
          3:23-cv-24250-TKW-ZCB
              MDL No. 3089 Document
                                Document
                                    1-4 Filed
                                         1 Filed
                                              09/18/23
                                                  09/13/23
                                                        PagePage
                                                             7 of 26
                                                                  4 of 23




he spent money to purchase Products he would not otherwise have purchased absent

Defendants’ misconduct, as alleged herein.

      6.    Defendant Johnson & Johnson Consumer Inc., a McNeil Consumer

Healthcare Division, is a New Jersey corporation with its headquarters and principal

place of business at 199 Grandview Road, Skillman, New Jersey, 08558. J&J

manufactures, markets, advertises, labels, distributes and sells Sudafed PE and

Benadryl Allergy Plus Congestion. J&J may be served via its registered agent, C T

Corporation System, 100 Biscayne Blvd., Miami, FL 33132.

      7.    Defendant Procter & Gamble is an Ohio corporation with its

headquarters and principal place of business at One Procter & Gamble Plaza,

Cincinnati, Ohio 45202. Procter & Gamble manufactures, markets, advertises,

labels, distributes and sells Vicks NyQuil. Procter & Gamble may be served via its

registered agent, C T Corporation System, 1200 South Pine Island Rd., Plantation,

FL 33324.

                               INTRODUCTION

      8.    Defendant, J&J, is a corporation engaged in the manufacture,

marketing, and sale of various OTC pharmaceutical products, including Sudafed PE

and Benadryl Allergy Plus Congestion.

      9.    Defendant, Procter & Gamble, is a corporation engaged in the

manufacture, marketing, and sale of various OTC pharmaceutical products,


                                         4
     CaseCase
          3:23-cv-24250-TKW-ZCB
              MDL No. 3089 Document
                                Document
                                    1-4 Filed
                                         1 Filed
                                              09/18/23
                                                  09/13/23
                                                        PagePage
                                                             8 of 26
                                                                  5 of 23




including Vicks NyQuil.

      10.     Collectively, Defendants J&J and Procter & Gamble marketed and sold

the Products to consumers in Florida and across the United States as an effective

nasal decongestant.

      11.     The main active ingredient in the Products is phenylephrine

hydrochloride, or “PE.” In 1994, the FDA issued a final monograph establishing

conditions under which OTC nasal decongestant drug products are generally

recognized as safe and effective (“GRASE”) and not misbranded. Phenylephrine is

included in the final monograph as an OTC oral nasal decongestant. Defendants

marketed PE as an effective decongestant that should be used to relieve nasal

congestion and sinus pressure associated with colds, allergies, and other respiratory

conditions.

      12.     According to Defendants, phenylephrine works by constricting blood

vessels in the nasal passages, which reduces swelling and congestion.

      13.     Over the years, Defendants made the following claims in their

marketing materials concerning the efficacy of their Products,

      14.     For example, for Sudafed PE, these claims include:

              •      Relief from Nasal Congestion: Sudafed PE products
              provide relief from nasal congestion associated with colds,
              allergies, or sinus congestion.

              •      Fast-Acting: Some Sudafed PE products are fast-
              acting and provide rapid relief from congestion symptoms.
                                          5
CaseCase
     3:23-cv-24250-TKW-ZCB
         MDL No. 3089 Document
                           Document
                               1-4 Filed
                                    1 Filed
                                         09/18/23
                                             09/13/23
                                                   PagePage
                                                        9 of 26
                                                             6 of 23




      •      24-Hour Relief: Sudafed PE provide up to 24 hours
      of relief from congestion symptoms, reducing the need for
      frequent dosing.

      •      Sinus Pressure Relief: Sudafed PE's is highly
      effective in relieving sinus pressure in addition to
      congestion.

      •      Sudafed PE offers relief from multiple cold and
      allergy symptoms, such as nasal congestion, sinus
      pressure, sneezing, and runny nose.

15.   For Benadryl Allergy Plus Congestion, these claims include:

      •         Allergy Relief you can trust and fast congestion
      relief.

      •      Relief of: Runny nose, sneezing, itchy, watery eyes,
      itchy throat or nose, sinus congestion, stuffy nose.

      •     Benadryl Allergy Plus Congestion relieves allergy
      and cold symptoms such as: sneezing, itchy, watery eyes,
      runny nose, itchy throat or nose, sinus congestion.

      •         Powerful allergy relief with fast congestion relief.

16.   For Vicks NyQuil, these claims include:

      •    The congestion, pressure & pain, clear your head,
      medicine.

      •      Fast Relief- Clear your head with fast acting
      nighttime relief.

      •         Powerful congestion, pressure and pain relief.

      •         Maximum strength sinus relief.

      •         Fast, powerful cold and congestion relief.

                                      6
     Case
        Case
          3:23-cv-24250-TKW-ZCB
              MDL No. 3089 Document
                                Document
                                    1-4 Filed
                                          1 Filed
                                              09/18/23
                                                   09/13/23
                                                        PagePage
                                                             10 of726
                                                                    of 23




      17.   In 2007, the consumer advocacy group Public Citizen filed a petition

with the U.S. Food and Drug Administration (FDA) regarding phenylephrine. The

petition requested that the FDA re-evaluate the safety and efficacy of phenylephrine

as a nasal decongestant and take regulatory action.

      18.   Public Citizen expressed concerns that phenylephrine, the active

ingredient in many OTC decongestant products, was not as effective as another

decongestant called pseudoephedrine.

      19.   The petition argued that the switch from pseudoephedrine to

phenylephrine in many cold and allergy medications had not been supported by

adequate scientific evidence demonstrating the latter's effectiveness in relieving

nasal congestion.

      20.   Public Citizen also raised concerns about the potential side effects and

safety of phenylephrine, suggesting that its use might lead to increased blood

pressure in some individuals.

      21.   The FDA reviewed the concerns raised by the Public Citizen petition

regarding the safety and efficacy of phenylephrine as a nasal decongestant. The FDA

concluded that, based on the available data at the time of its review in 2007,

phenylephrine could be considered effective as a nasal decongestant when used at

the recommended doses.


                                         7
     Case
        Case
          3:23-cv-24250-TKW-ZCB
              MDL No. 3089 Document
                                Document
                                    1-4 Filed
                                          1 Filed
                                              09/18/23
                                                   09/13/23
                                                        PagePage
                                                             11 of826
                                                                    of 23




      22.     Thus, in 2007, the FDA concluded that orally administered PE was

Generally Recognized as Safe and Effective (GRASE).

      23.     The FDA’s GRASE determination allowed Defendants to market the

Products as an OTC or “over-the-counter” medication. This was an important

designation to Defendants as it allowed them to market the Products to consumers

without requiring a doctor’s prescription, making it more accessible for self-

treatment, and allowing Defendants to make billions of dollars in OTC sales.

      24.     However, on September 11th and 12th, 2023, the FDA issued a new

report detailing its updated review of the efficacy of phenylephrine, based on the

studies it initially reviewed in 2007 and additional studies obtained since its initial

review. A copy of the FDA’s report is attached as Exhibit A.

      25.     The FDA's findings are based on rigorous scientific research and

evaluation.

      26.     At its initial 2007 Nonprescription Drugs Advisory Committee

(“NDAC”) meeting and review, the FDA reviewed clinical effectiveness data for

oral doses between 5mg and 40mg in a total of 14 studies, of which 7 reported

positive measurable efficacy results.

      27.     In its re-analysis of these studies in 2023, the FDA found significant

problems:

              [w]hen considering the studies through a modern drug
              review lens, all of the studies (both positive and negative)
                                           8
      Case
         Case
           3:23-cv-24250-TKW-ZCB
               MDL No. 3089 Document
                                 Document
                                     1-4 Filed
                                           1 Filed
                                               09/18/23
                                                    09/13/23
                                                         PagePage
                                                              12 of926
                                                                     of 23




              were highly problematic in both design and
              methodology. All used a highly variable endpoint (NAR)
              to study a drug in the setting of a highly variable disease
              state (the common cold) that is no longer used as a primary
              endpoint to evaluate congestion in pivotal trials.1 Further,
              all the positive studies (and most of the negative studies)
              were unpublished and therefore never peer-reviewed. Six
              of the seven positive studies came from a single study
              center (funded by the manufacturer of Neo-Synephrine),
              were very small in size, and (except in one instance) the
              results could not be duplicated at two other study centers
              (also funded by the same manufacturer) that used a similar
              study design and methodology. (emphasis added).
Exhibit A.


       28.    The FDA thus found that the original studies had data integrity issues

and that the results from the Elizabeth study site, a study it relied on in 2007, could

not be duplicated in at least two other Sterling-Winthrop study sites that used a

similar study design and methodology.

       29.    As noted in the FDA’s re-evaluation of the data, the original studies

used to support the GRASE determination in 2007 were based on “equivocal

findings.” Exhibit A. Indeed, there were “significant deficiencies” in the “design

and conduct of these studies.” Id.




1
  The FDA’s Guidance for Industry on Developing Drug Products for Treatment of Allergic
Rhinitis recommends use of symptom scores for the primary endpoint in clinical trials. See FDA,
2018, Guidance for Industry; Allergic Rhinitis: Developing Drug Products for Treatment,
https://www.fda.gov/regulatory-information/search-fda-guidance-documents/allergic-rhinitis-
developing-drugproducts-treatment-guidance-industry (hereafter “FDA Guidance for Industry
(2018)”).
                                              9
     CaseCase
          3:23-cv-24250-TKW-ZCB
              MDL No. 3089 Document
                                Document
                                    1-4 Filed
                                         1 Filed
                                              09/18/23
                                                  09/13/23
                                                        PagePage
                                                             13 of10
                                                                   26of 23




       30.    In light of the methodological and design flaws it found, the FDA now

believes that “the original studies evaluated for efficacy” are “unacceptable as

continued support for the efficacy of monographed doses or oral PE.” Exhibit A.

       31.    Since 2007, several additional large clinical trials have been

conducted regarding the efficacy of phenylephrine.2 Those studies provide

evidence of the absence of a decongestant effect from the OTC approved doses of

10 mg.

       32.    For example, Horak et al (2009) found that PE was not significantly

different from placebo in the mean change in subjective nasal congestion scores

whereas pseudoephedrine, a positive control in the study, decreased congestion

significantly greater than placebo and PE.

       33.    Day et al (2009) similarly reported no difference between PE and

placebo with respect to decreased nasal congestion scores.




2
  See, e.g., Gelotte, CK and BA Zimmerman, 2015, Pharmacokinetics, safety, and cardiovascular
tolerability of phenylephrine HCl 10, 20, and 30 mg after a single oral administration in healthy
volunteers, Clin Drug Investig, 35(9):547-558; Day, JH, MP Briscoe, JD Ratz, M Danzig, and R
Yao, 2009, Efficacy of loratadine-montelukast on nasal congestion in patients with seasonal
allergic rhinitis in an environmental exposure unit, Ann Allergy Asthma Immunol, 102(4):328-
338; Horak, F, P Zieglmayer, R Zieglmayer, P Lemell, R Yao, H Staudinger, and M Danzig, 2009,
A placebo-controlled study of the nasal decongestant effect of phenylephrine and pseudoephedrine
in the Vienna Challenge Chamber, Ann Allergy Asthma Immunol, 102(2):116-120; Meltzer, EO,
PH Ratner, and T McGraw, 2015, Oral phenylephrine HCl for nasal congestion in seasonal allergic
rhinitis: A randomized, open-label, placebo-controlled study, J Allergy Clin Immunol Pract,
3(5):702-708; Meltzer, EO, PH Ratner, and T McGraw, 2016, Phenylephrine hydrochloride
modified-release tablets for nasal congestion: a randomized, placebo-controlled trial in allergic
rhinitis patients, Ann Allergy Asthma Immunol, 116(1):66-71.
                                               10
        CaseCase
             3:23-cv-24250-TKW-ZCB
                 MDL No. 3089 Document
                                   Document
                                       1-4 Filed
                                            1 Filed
                                                 09/18/23
                                                     09/13/23
                                                           PagePage
                                                                14 of11
                                                                      26of 23




         34.    Gelotte and Zimmerman (2015) likewise reported a lack of local

decongestion effect of PE, finding that doses up to three times the labeled OTC for

oral phenylephrine are unlikely to be effective as a nasal decongestant.

         35.    Thus, the results of several studies reported after the initial efficacy

determination of the Products in 2007 clearly demonstrate that PE is no more

effective than placebo in decreasing nasal congestion and, thus, lacks efficacy.

         36.    On September 12, 2023, an FDA panel unanimously declared that

phenylephrine, the active ingredient in the Products, is an ineffective

decongestant.

         37.    As of 2007, nasal airway resistance (“NAR”) was the principle

methodology used to assess the effectiveness of oral PE. This methodology used

measurements of airflow and air pressure in the nasal passage to calculate NAR as

an indirect measure of the level of nasal congestion.

         38.    In 2018, however, the FDA issued new guidance for industry as it

related to the use of nasal congestion symptom scores to evaluate congestion,3

meaning that NAR was no longer used as a primary endpoint to evaluate

congestion in studies.

         39.    Based on the FDA’s new 2018 guidance, Defendants knew or should

have known that their marketing claims regarding the Products’ efficacy were false


3
    FDA Guidance for Industry (2018).
                                             11
     CaseCase
          3:23-cv-24250-TKW-ZCB
              MDL No. 3089 Document
                                Document
                                    1-4 Filed
                                         1 Filed
                                              09/18/23
                                                  09/13/23
                                                        PagePage
                                                             15 of12
                                                                   26of 23




and misleading. This is because the primary endpoint for evaluating the efficacy of

the Products had changed since the FDA’s 2007 NDAC meeting, meaning that the

previous data under which the Products were approved as GRASE no longer

supported efficacy. There have been no published studies since the FDA’s revised

2008 guidance for industry was released that demonstrate the effectiveness of oral

phenylephrine as a decongestant. Accordingly, Defendants knew or should have

known by at least 2018 that their marketing claims regarding the Products’ efficacy

were false and misleading.

      40.    Plaintiff and the class members purchased the Products in reliance on

Defendants’ false and deceptive marketing claims.

      41.    As a result of Defendants’ false and deceptive marketing, Plaintiff and

the class members suffered economic damages, including the cost of purchasing

the Products.

                           CLASS ALLEGATIONS

      42.    Plaintiff brings this action on behalf of himself and all other

similarly situated class members (the “Class” or “Classes”) pursuant to Rule

23(a), (b)(2) and (b)(3) of the Federal Rules of Civil Procedure and seeks

certification of the following Class against Defendants for violations of Florida

state laws and/or similar laws in other states:

             Multi-State Class Action

                                          12
     CaseCase
          3:23-cv-24250-TKW-ZCB
              MDL No. 3089 Document
                                Document
                                    1-4 Filed
                                         1 Filed
                                              09/18/23
                                                  09/13/23
                                                        PagePage
                                                             16 of13
                                                                   26of 23




             All consumers who purchased Sudafed PE, Vicks NyQuil,
             and/or Benadryl Allergy Plus Congestion Products in the
             United States of America and its territories (excluding
             California) from September 13, 2018 to the present for
             personal use or consumption.

             Excluded from the Class are individuals who allege
             personal bodily injury resulting from the use of Sudafed
             PE, Vicks NyQuil, and/or Benadryl Allergy Plus
             Congestion Products. Also excluded from this Class are
             Defendants, any parent companies, subsidiaries, and/or
             affiliates, officers, directors, legal representatives,
             employees, co-conspirators, all governmental entities, and
             any judge, justice or judicial officer presiding over this
             matter.

      43.    In the alternative, Plaintiff brings this action on behalf of herself and all

other similarly situated Florida consumers pursuant to Rule 23(a), (b)(2) and (b)(3)

of the Federal Rules of Civil Procedure and seeks certification of the following Sub-

Classes:

             Florida Sub-Class

             All consumers who purchased Sudafed PE, Vicks NyQuil,
             and/or Benadryl Allergy Plus Congestion Products in the
             State of Florida from September 13, 2018 to the present
             for personal use or consumption.

             Excluded from the Class are individuals who allege
             personal bodily injury resulting from the use of Sudafed
             PE, Vicks NyQuil, and/or Benadryl Allergy Plus
             Congestion Products. Also excluded from this Class are
             Defendants, any parent companies, subsidiaries, and/or
             affiliates, officers, directors, legal representatives,
             employees, co-conspirators, all governmental entities, and
             any judge, justice or judicial officer presiding over this
             matter.
                                           13
     CaseCase
          3:23-cv-24250-TKW-ZCB
              MDL No. 3089 Document
                                Document
                                    1-4 Filed
                                         1 Filed
                                              09/18/23
                                                  09/13/23
                                                        PagePage
                                                             17 of14
                                                                   26of 23




      44.   The members of the Class are so numerous that joinder of all members

of the Class is impracticable. Plaintiff is informed and believes that the proposed

Class/Sub-Classes contains thousands of purchasers of Defendants’ Products who

have been damaged by Defendants’ conduct as alleged herein. The precise number

of Class members is unknown to Plaintiff at this time.

      45.   Plaintiff’s claims are typical to those of all Class members because

members of the Class are similarly injured through Defendants’ uniform misconduct

described above and were subject to Defendants’ deceptive marketing claims that

accompanied each and every Product. Plaintiff is advancing the same claims and

legal theories on behalf of themselves and all members of the Class/Sub-Class.

      46.   Plaintiff’s claims raise questions of law and fact common to all

members of the Class, and they predominate over any questions affecting only

individual Class members. The claims of Plaintiff and all prospective Class members

involve the same alleged defect. These common legal and factual questions include

the following:

        (a) whether Defendants’ Products contained phenylephrine;

        (b) whether Defendants’ marketing statements are false, misleading,

            or objectively reasonably likely to deceive;

        (c) whether the alleged conduct constitutes violations of the laws

            asserted;
                                        14
     CaseCase
          3:23-cv-24250-TKW-ZCB
              MDL No. 3089 Document
                                Document
                                    1-4 Filed
                                         1 Filed
                                              09/18/23
                                                  09/13/23
                                                        PagePage
                                                             18 of15
                                                                   26of 23




         (d) whether Defendants’ alleged conduct violates public policy;

         (e) whether Defendants engaged in false or misleading advertising;

         (f) whether Defendants were unjustly enriched as a result of its

             labeling, marketing, advertising and/or selling of the Products;

         (g) whether Plaintiff and the Class members are entitled to damages

             and/or restitution and the proper measure of that loss; and

         (h) whether an injunction is necessary to prevent Defendants from

             continuing to market and sell Products that lack efficacy.


      47.    Plaintiff and his counsel will fairly and adequately protect and represent

the interests of each member of the class. Plaintiff has retained counsel experienced

in complex litigation and class actions. Plaintiff’s counsel has successfully litigated

other class action cases similar to that here and have the resources and abilities to

fully litigate and protect the interests of the class. Plaintiff intends to prosecute this

claim vigorously. Plaintiff has no adverse or antagonistic interests to those of the

Class, nor is Plaintiff subject to any unique defenses.

      48.    A class action is superior to the other available methods for a fair and

efficient adjudication of this controversy. The damages or other financial detriment

suffered by the Plaintiff and individual Class members is relatively small compared

to the burden and expense that would be entailed by individual litigation of their

claims against Defendants. It would thus be virtually impossible for Plaintiff and

                                           15
     CaseCase
          3:23-cv-24250-TKW-ZCB
              MDL No. 3089 Document
                                Document
                                    1-4 Filed
                                         1 Filed
                                              09/18/23
                                                  09/13/23
                                                        PagePage
                                                             19 of16
                                                                   26of 23




Class members, on an individual basis, to obtain meaningful and effective redress

for the wrongs done to them. Further, it is desirable to concentrate the litigation of

the Class members’ claims in one forum, as it will conserve party and judicial

resources and facilitate the consistency of adjudications. Plaintiff knows of no

difficulty that would be encountered in the management of this case that would

preclude its maintenance as a class action.

      49.    The Class also may be certified because Defendants have acted or

refused to act on grounds applicable to the Class, thereby making appropriate final

declaratory and/or injunctive relief with respect to the members of the Class as a

whole.

      50.    Plaintiff seeks preliminary and permanent injunctive and equitable

relief on behalf of the entire Class, on grounds generally applicable to the entire

Class, to enjoin and prevent Defendant from engaging in the acts described above,

such as continuing to market and sell Products that lack efficacy, and requiring

Defendants to provide a full refund of the purchase price of the Products to Plaintiff

and Class members.

      51.    Unless a Class is certified, Defendants will retain monies received as a

result of their conduct that were taken from Plaintiff and the Class members. Unless

a Class-wide injunction is issued, Defendants will continue to commit the violations

alleged and the members of the Class and the general public will continue to be


                                         16
     CaseCase
          3:23-cv-24250-TKW-ZCB
              MDL No. 3089 Document
                                Document
                                    1-4 Filed
                                         1 Filed
                                              09/18/23
                                                  09/13/23
                                                        PagePage
                                                             20 of17
                                                                   26of 23




misled. Indeed, to this day, Defendants continues to market and sell the Products

that have been determined by a unanimous FDA panel to lack efficacy.

                          FIRST CAUSE OF ACTION

       Violation of Florida’s Deceptive and Unfair Trade Practices Act

                             Fla. Stat. §§ 501.201-213

(On Behalf of the Plaintiff and the Florida Sub-Class Against All Defendants)

      52.    Plaintiff incorporates by reference and re-allege each and every

allegation contained above, as though fully set forth herein.

      53.    Plaintiff brings this Count individually and on behalf of the Florida

Sub-Class.

      54.    The Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”)

renders unlawful unfair methods of competition, unconscionable acts or practice,

and unfair or deceptive acts or practices in the conduct of any trade or commerce. §

501.204, Fla. Stat.

      55.    Among other purposes, FDUTPA is intended “[t]o protect the

consuming public and legitimate business enterprises from those who engage in

unfair methods of competition, or unconscionable, deceptive, or unfair acts or

practices in the conduct of any trade or commerce.” § 501.202, Fla. Stat.

      56.    As alleged herein, Plaintiff and the Sub-Class members have suffered

injury in fact and lost money as a result of Defendants’ conduct because they


                                         17
     CaseCase
          3:23-cv-24250-TKW-ZCB
              MDL No. 3089 Document
                                Document
                                    1-4 Filed
                                         1 Filed
                                              09/18/23
                                                  09/13/23
                                                        PagePage
                                                             21 of18
                                                                   26of 23




purchased Products from Defendants in reliance on Defendants’ representation that

the Products were effective.

       57.    As alleged herein, Defendants’ actions are deceptive and in clear

violation of FDUTPA, entitling Plaintiff and the Sub-Class to damages and relief

under Fla. Stat. §§ 501.201-213.

       58.    Defendants have engaged, and continue to engage, in conduct that is

likely to deceive members of the public. This conduct includes representing in their

labels that their Products are effective, which is untrue.

       59.    Similarly, Defendants have engaged, and continue to engage, in

deceptive, untrue, and misleading advertising as described above.

       60.    By committing the acts alleged above, Defendants have engaged in

unconscionable, deceptive, or unfair acts or practices, which constitute unfair

competition within the meaning of FDUTPA. 4

       61.    Defendants’ conduct is substantially injurious to consumers.

Consumers are purchasing using Defendants’ Products without knowledge that

they lack efficacy. This conduct has caused, and continues to cause, substantial

injury to consumers because consumers would not have paid for nasal

decongestant Products that do not work as advertised but for Defendants’ false


4
 Defendants’ conduct violates Section 5 of the Federal Trade Commission “(“FTC”) Act, 15
U.S.C. § 45, which prohibits unfair methods of competition and unfair or deceptive acts or
practices in or affecting commerce.
                                             18
     CaseCase
          3:23-cv-24250-TKW-ZCB
              MDL No. 3089 Document
                                Document
                                    1-4 Filed
                                         1 Filed
                                              09/18/23
                                                  09/13/23
                                                        PagePage
                                                             22 of19
                                                                   26of 23




labeling, advertising, and promotion. Thus, Plaintiff and the putative Sub-Class

have been “aggrieved” (i.e. lost money) as required for FDUTPA standing, and

such an injury is not outweighed by any countervailing benefits to consumers or

competition.

      62.      Indeed, no benefit to consumers or competition results from

Defendants’ conduct. Since consumers reasonably rely on Defendants’

representation that the Products work as advertised, consumers could not have

reasonably avoided such injury.

      63.      Florida Statutes, Section 501.204, makes unfair and/or deceptive trade

practices in the conduct of any trade or commerce illegal.

      64.      Florida Statutes, Section 501.211, creates a private right of action for

individuals who are aggrieved by an unfair and/or deceptive trade practice by

another person.

      65.      Florida Statutes, Section 501.2105, provides that the prevailing party

in litigation arising from a cause of action pursuant to Chapter 501 shall be entitled

to recover attorney’s fees within the limitations set forth therein form the non-

prevailing party.

      66.      Florida Statutes, Section 501.213, provides that any remedies

available under Chapter 501 are in addition to any other remedies otherwise

available for the same conduct under state or local law.


                                            19
     CaseCase
          3:23-cv-24250-TKW-ZCB
              MDL No. 3089 Document
                                Document
                                    1-4 Filed
                                         1 Filed
                                              09/18/23
                                                  09/13/23
                                                        PagePage
                                                             23 of20
                                                                   26of 23




       67.    Florida Statutes, Section 501.203 (3)(c), states that a person has

violated the FDUTPA if he violates “any law, statute, rule, regulation, or ordinance

which proscribes unfair, deceptive, or unconscionable acts or practices.”

       68.    Defendants are engaged in the practice of manufacturing, marketing,

distributing, selling and otherwise placing into the stream of commerce Products

which constitutes trade and commerce as defined by Sections 501.203(8) Fla. Stat.,

and is therefore subject to FDUPTA.

       69.    As a result of Defendants’ unfair and deceptive trade practices,

Plaintiff and the Sub-Class members are entitled to an award of attorney’s fees

pursuant to FDUTPA, Florida Statutes, Section 501.2105, if he prevails.

       70.    Wherefore, Plaintiff, and the Florida Sub-Class, pray for judgement

against Defendants, as set forth hereafter. Defendants’ conduct with respect to the

labeling, advertising, marketing, and sale of their Products is unfair because

Defendant’ conduct was immoral, unethical, unscrupulous, or substantially injurious

to consumers and the utility of its conduct, if any, does not outweigh the gravity of

the harm to its victims.

       71. In accordance with FDUTPA, 5 Plaintiff and the Florida Sub-Class, seek

an order enjoining Defendants from continuing to conduct business through



5
 Section 501.211(1) allows “anyone aggrieved by a violation of” FDUTPA to seek declaratory
or injunctive relief. Fla. Stat. §501.211.
                                            20
     CaseCase
          3:23-cv-24250-TKW-ZCB
              MDL No. 3089 Document
                                Document
                                    1-4 Filed
                                         1 Filed
                                              09/18/23
                                                  09/13/23
                                                        PagePage
                                                             24 of21
                                                                   26of 23




fraudulent or unlawful acts and practices and to commence a corrective advertising

campaign. Defendants’ conduct is ongoing and continuing, such that prospective

injunctive relief is necessary.

        72. On behalf of Plaintiff and the Florida Sub-Class, Plaintiff also seeks an

order entitling them to recover all monies spent on the Defendants’ Products, which

were acquired through acts of fraudulent, unfair, or unlawful competition. 6 In

addition, the measure of restitution should be full refund of the purchase price insofar

as the Products and their associated labels are worthless. But for Defendants’

misrepresentations and omissions, Plaintiff and Sub-Class members would have

paid nothing for Products that do not work as advertised. Indeed, there is no

discernible “market” for an over-the-counter nasal decongestant that is no more

effective than a placebo at decreasing congestion. As a result, the Defendant’s

Products are rendered valueless.

        73. Wherefore, Plaintiff and members of the Florida Sub-Class are entitled

to injunctive and equitable relief, and a full refund in the amount they spent on the

Products.

                                PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of himself and all others similarly



6
 Section 501.211(2) provides that “a person who has suffered a loss as a result of a [FDUTPA]
violation ... may recover actual damages . . . .”
                                              21
    CaseCase
         3:23-cv-24250-TKW-ZCB
             MDL No. 3089 Document
                               Document
                                   1-4 Filed
                                        1 Filed
                                             09/18/23
                                                 09/13/23
                                                       PagePage
                                                            25 of22
                                                                  26of 23




situated, pray for judgment against the Defendants as to each and every count,

including:

      A.     An order declaring this action to be a proper class action, appointing

             Plaintiff and his counsel to represent the Class/Sub-Classes, and

             requiring Defendants to bear the costs of class notice;

      B.     An order enjoining Defendants from selling the Products;

      C.     An order enjoining Defendants from suggesting or implying that they

             are effective for human application;

      D.     An order requiring Defendants to engage in a corrective advertising

             campaign and engage in any further necessary affirmative injunctive

             relief, such as recalling existing Products;

      E.     An order awarding declaratory relief, and any further retrospective or

             prospective injunctive relief permitted by law or equity, including

             enjoining Defendants from continuing the unlawful practices alleged

             herein, and injunctive relief to remedy Defendants’ past conduct;

      F.     An order requiring Defendants to pay restitution/damages to restore all

             funds acquired by means of any act or practice declared by this Court

             to be an unlawful, unfair, or fraudulent business act or practice, untrue

             or misleading advertising in violation of the above-cited authority, plus

             pre- and post-judgment interest thereon;


                                          22
    CaseCase
         3:23-cv-24250-TKW-ZCB
             MDL No. 3089 Document
                               Document
                                   1-4 Filed
                                        1 Filed
                                             09/18/23
                                                 09/13/23
                                                       PagePage
                                                            26 of23
                                                                  26of 23




     G.    An order requiring Defendants to disgorge any ill-gotten benefits

           received from Plaintiff and members of the Class/Sub-Classes as a

           result of any wrongful or unlawful act or practice;

     H.    An order requiring Defendants to pay all actual and statutory damages

           permitted under the counts alleged herein;

     I.    An order awarding attorneys’ fees and costs to Plaintiff and the

           Class/Sub-Classes; and

     J.    An order providing for all other such equitable relief as may be just and

           proper.

                           DEMAND FOR JURY TRIAL
     Plaintiff demands a trial by jury on all issues so triable.


DATED: September 13, 2023



                                By: /s/R. Jason Richards
                                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
                                PLLC
                                R. JASON RICHARDS (FL Bar # 18207)
                                BRYAN F. AYLSTOCK (FL Bar # 0078263)
                                17 East Main Street, Suite 200
                                Pensacola, FL 32502
                                Telephone: 850-202-1010
                                Facsimile: 850-916-7449
                                E-mail: jrichards@awkolaw.com
                                E-mail: baylstock@awkolaw.com
                                Attorneys for Plaintiff


                                         23
